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16                               UNITED STATES DISTRICT COURT
17                             NORTHERN DISTRICT OF CALIFORNIA
18                                   SAN FRANCISCO DIVISION
19   SONOS, INC.,                                      Case No. 3:20-cv-06754-WHA
20          Plaintiff and Counter-defendant,           Consolidated with
                                                       Case No. 3:21-cv-07559-WHA
21          v.
22   GOOGLE LLC,                                       SONOS, INC.’S OBJECTIONS TO
                                                       GOOGLE LLC’S BILL OF COSTS
23          Defendant and Counter-claimant.
24

25

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                                                                  SONOS’S OBJECTIONS TO BILL OF COSTS
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 1             Pursuant to Civil Local Rule 54-2, Sonos objects to Google’s Bill of Costs (Dkt. 876) for

 2   the reasons stated below. In accordance with Civil Local Rule 54-2(b), Sonos met and conferred

 3   with Google to try to resolve Sonos’s objections, but the parties were unable to reach agreement.

 4   Declaration of Geoffrey Moss in Support of Sonos, Inc.’s Objections to Google LLC’s Bill of

 5   Costs (“Moss Decl.”) ¶ 14. Sonos does not object to the remaining costs Google seeks to tax,

 6   subject to Sonos’s pending appeal.

 7                                             INTRODUCTION

 8             Through its Bill of Costs, Google seeks to recover thousands of dollars in costs that the

 9   Local Rules do not authorize. The Court should deny Google’s request for the costs of transcripts

10   that Google has not shown were necessarily obtained for appeal; deny Google’s request for the

11   costs it incurred for its intellectual efforts in preparing document productions; deny Google’s

12   request for costs unrelated to service of process; and deny Google’s request for fees paid to the

13   Federal Circuit for Google’s mandamus petition. In total, Sonos objects to $38,515.70 in

14   Google’s costs, as explained below. Under the Local Rules, Google was obligated to “support by

15   an affidavit” that its costs “are allowable by law,” Civil L.R. 54-1(a), and to provide enough

16   justification for the Court to assess that its costs are recoverable. See Johnson v. Hewlett-Packard

17   Co., No. cv-09-03596 CRB, 2014 WL 3703993, at *6 (N.D. Cal. July 24, 2014). Google has

18   failed to meet these requirements for the costs outlined below.

19                                                ARGUMENT

20     I.      THE COURT SHOULD DENY GOOGLE’S REQUEST FOR $7,958.70 IN COSTS
               OF TRANSCRIPTS UNNECESSARY FOR ANY APPEAL.
21

22             Google seeks to tax $16,858.20 in costs for transcripts of trial and various hearings
23   throughout the case pursuant to Civil Local Rule 54-3(b)(1). Bill of Costs (Dkt. 876), at 1. Sonos
24   objects to $7,958.70 of these costs because they represent costs for erroneously taxed costs,
25   hearings for which transcript costs are not recoverable, expedited transcripts, extra transcript
26   copies.
27

28

                                                                         SONOS’S OBJECTIONS TO BILL OF COSTS
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 1   Erroneous Costs

 2            Google has included certain inappropriate transcript costs that appear to be included in

 3   error:

 4
                           Amount of
 5    Hearing Date                        Basis of Objection
                           Objection
 6    Apr. 27, 2021         $ 91.00       Based on the invoice, this cost relates to a different case,
                                          Google v. Sonos, Inc., No. 20-3845, pending before Judge
 7                                        Chen in the Northern District. See Cooper Decl., Ex. B-1
                                          (Dkt. 876-4) at 26.
 8

 9    Jul. 13, 2022          $ 676.00     Google submits two invoices for the summary judgment
                                          hearing: one for $676.00 dated July 18, 2022 (Id. at 15) and
10                                        one for $741.00 dated July 21, 2022 (Id. at 16). The later of
                                          these invoices applies the earlier $676.00 as a deposit to the
11                                        revised total.
12
      Total                  $ 767.00
13

14            The Court should not tax these amounts as costs under L.R. 54-3(b)(1).
15   Miscellaneous Hearings
16            Civil Local Rule 54-3(b) provides that the costs of “transcripts necessarily obtained for an
17   appeal” and “transcript[s] of a statement by a Judge from the bench which is to be reduced to a
18   formal order prepared by counsel” are allowable. Civ. L.R. 54-3(b)(1), (2). By contrast, “[t]he
19   cost of other transcripts is not normally allowable unless, before it is incurred, it is approved by a
20   Judge or stipulated to be recoverable by counsel.” Civ. L.R. 54-3(b)(3). In practice, courts in the
21   Northern District treat as taxable certain transcript costs for trial and important hearings such as
22   summary judgement and claim construction. Apple Inc. v. Samsung Elecs. Co., Ltd., No. 11-
23   1846, 2014 WL 4745933, at *7 (N.D. Cal., Sept. 19, 2014) (awarding costs of one original
24   transcript for trial and hearings on summary judgment and claim construction, but not other
25   miscellaneous hearings); TransPerfect Global, Inc. v. MotionPoint Corp., No. 10-2590, 2014 WL
26   1364792, at *4 (N.D. Cal. Apr. 4, 2014). By contrast, courts in the Northern District do not
27   typically treat the transcript costs for other miscellaneous hearings (e.g., discovery motions, status
28

                                                                         SONOS’S OBJECTIONS TO BILL OF COSTS
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 1   conferences) as taxable. Google has provided no basis to tax the transcript costs for the following

 2   miscellaneous hearings:

 3
                             Amount of
 4    Hearing Date                             Nature of Hearing
                             Objection
 5    Nov. 19, 2020           $ 175.50         Motion to Dismiss/Transfer. Moss Decl. ¶ 4.
      Oct. 7, 2021            $ 130.00         Status Conference. Id. ¶ 5.
 6    Jan. 6, 2022            $ 162.50         Discovery Dispute. Id. ¶ 6.
      Jan. 13, 2022           $ 158.05         Motion to Amend Complaint. Id. ¶ 7.
 7    Feb. 24, 2022           $ 149.50         Motion to Dismiss. Id. ¶ 8.
 8    Mar. 24, 2022           $ 123.50         Discovery Dispute. Id. ¶ 9.
      May 18, 2022            $ 10.80          Telephonic Conference Regarding Judge Alsup’s Clerk.
 9                                             Id. ¶ 10.
      Jun. 1, 2022             $ 23.40         Motion to File Third Amended Complaint. Id. ¶ 11.
10    Dec. 8, 2022            $ 195.50         Motion to Amend Invalidity Contentions. Id. ¶ 12.
11    Feb. 23, 2023           $110.50          Discovery Dispute. Id. ¶ 13.

12    Total                  $ 1,239.25
13

14   Expedited Transcripts and Extra Copies of Transcripts

15            Google also seeks to tax transcript costs for expedited return of transcripts and multiple

16   copies of transcripts. “Courts in the Northern District generally allow for recovery of costs for

17   one copy of the trial transcript.” Apple, 2014 WL 4745933, at *7 (awarding costs of one original

18   transcript for trial and certain hearings) (citing TransPerfect, 2014 WL 1364792, at *3). In

19   addition, courts in the Northern District generally do not tax costs for expediting transcripts.

20   Affymetrix, Inc. v. Multilyte Ltd., No. 03-3779-WHA, 2005 WL 2072113, at *2 (N.D. Cal. Aug.

21   26, 2005); see also, Apple, 2014 WL 4745933, at *7. This includes not taxing costs for “rough”

22   transcripts. See, e.g., Vectren Communications Services v. City of Alameda, No. 08-3137, 2014

23   WL 3612754, at *3 (N.D. Cal. Jul. 22, 2014).

24            Here, most of the transcripts for which Google seeks costs were ordered on an expedited

25   basis—delivered on either a 3-day or another expedited timeframe. See Cooper Decl., Ex. B-1

26   (Dkt. 876-4) at 4, 5, 12-16, 18-27. If a particular transcript is taxable, Google should only recover

27   the cost of ordinary delivery of the original transcript, not expedited or 3-day delivery. Based on

28   review of Google’s invoices, the per-page cost of ordinary delivery of transcripts is $3.65/page.

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 1   See, e.g., id. at 9, 27. Therefore Sonos objects to total costs to expedite each transcript (calculated

 2   as the number of pages multiplied by the difference between per-page rates of expedited and

 3   ordinary delivery). Google also seeks multiple copies of certain transcripts. Sonos objects to the

 4   costs for additional copies of transcripts beyond the original copy. A summary of Sonos

 5   objections to expedited transcripts and copies of transcripts follows.

 6
                          Amount of
 7    Hearing Date                        Basis for Objection
                          Objection
 8    Jul. 13, 2022        $324.90        Sonos objects to expedited transcript costs: 114 pages ×
                                          ($5.45/page - $3.65/page) = $205.20
 9
                                          Sonos objects to costs for copies beyond original: $119.70
10
                                          See id. at 15, 16.
11

12    Mar. 30, 2023         $313.50       Sonos objects to expedited transcript costs: 110 pages ×
                                          ($5.45/page - $3.65/page) = $198.00
13
                                          Sonos objects to costs for copies beyond original: $115.50
14

15                                        See id. at 12.

16    May 3, 8, 2023        $630.00       Sonos objects to costs for copies beyond original: $630.00
                                          (300 pages × $1.20/page and 300 pages × $0.90 / page)
17
                                          See id. at 9.
18

19    May 9-12, 16-        $4,278.60      Sonos objects to costs for copies beyond original: $4,278.60
      19, 2023                            (891 pages × $1.20/page and 1783 pages × $1.80 / page)
20
                                          See id. at 8.
21
      May 24, 2023          $171.60       Sonos objects to costs for copies beyond original: $171.60
22
                                          (86 pages × $1.20/page and 76 pages × $0.90 / page)
23
                                          See id. at 5.
24
      May 26, 2023           $89.85       Sonos objects to costs for copies beyond original: $25.20
25                                        (42 pages × $0.60/page)
26
                                          Sonos objects to the cost of rough drafts of the transcript:
27                                        $64.65.

28                                        See id. at 4.

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 1                         Amount of
      Hearing Date                        Basis for Objection
                           Objection
 2

 3    Aug. 10, 2023          $144.00      Google does not explain how many pages are in the
                                          transcript or the rates paid, only that it would be available
 4                                        within 3 days of payment. This is insufficient information to
                                          determine which costs, if any, are taxable.
 5
                                          See id. at 3.
 6

 7
      Total                $ 5,952.45
 8

 9

10            To the extent the Court taxes transcript costs for miscellaneous hearings, despite Sonos’s

11   objection above, the Court should reduce those costs to exclude expedited transcript and extra

12   copies as follows.

13
                           Amount of
14    Hearing Date                        Basis for Objection
                           Objection
15    Nov. 19, 2020         $76.95        Sonos objects to expedited transcript costs: 27 pages ×
                                          ($5.45/page - $3.65/page) = $48.60
16
                                          Sonos objects to costs for copies beyond original: $28.35
17
                                          See Cooper Decl., Ex. B-1 (Dkt. 876-4) at 27.
18

19    Apr. 27, 2021          $39.90       Sonos objects to expedited transcript costs: 14 pages ×
                                          ($5.45/page - $3.65/page) = $25.20
20
                                          Sonos objects to costs for copies beyond original: $28.35
21
                                          See id. at 26.
22

23    Oct. 07, 2021          $57.00       Sonos objects to expedited transcript costs: 20 pages ×
                                          ($5.45/page - $3.65/page) = $36.00
24
                                          Sonos objects to costs for copies beyond original: $21.00
25

26                                        See id. at 25.

27    Jan. 06, 2022          $71.25       Sonos objects to expedited transcript costs: 25 pages ×
                                          ($5.45/page - $3.65/page) = $45.00
28

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 1                         Amount of
      Hearing Date                         Basis for Objection
                           Objection
 2
                                           Sonos objects to costs for copies beyond original: $26.25
 3
                                           See id. at 23, 24.
 4
      Jan. 13, 2022           $52.20       Sonos objects to expedited transcript costs: 29 pages ×
 5                                         ($5.45/page - $3.65/page) = $52.20
 6
                                           See id. at 21, 22.
 7
      Feb. 24, 2022           $65.55       Sonos objects to expedited transcript costs: 23 pages ×
 8                                         ($5.45/page - $3.65/page) = $41.40
 9                                         Sonos objects to costs for copies beyond original: $24.15
10
                                           See id. at 20.
11
      Mar. 24, 2022           $54.15       Sonos objects to expedited transcript costs: 19 pages ×
12                                         ($5.45/page - $3.65/page) = $34.20
13                                         Sonos objects to costs for copies beyond original: $19.95
14
                                           See id. at 19.
15
      Dec. 08, 2022           $71.40       Sonos objects to expedited transcript costs: 34 pages ×
16                                         ($4.85/page - $3.65/page) = $205.20
17
                                           Sonos objects to costs for copies beyond original: $30.60
18
                                           See id. at 14.
19
      Feb. 23, 2023           $48.45       Sonos objects to expedited transcript costs: 17 pages ×
20                                         ($5.45/page - $3.65/page) = $30.60
21
                                           Sonos objects to costs for copies beyond original: $17.85
22
                                           See id. at 13.
23

24
      Total                  $ 536.85
25                                                    * * *
26            In total, Sonos objects to $7,958.70 in hearing transcript costs that Google seeks to tax under
27   Local Rule 54-3(b).
28

                                                                         SONOS’S OBJECTIONS TO BILL OF COSTS
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 1    II.   THE COURT SHOULD DENY GOOGLE’S REQUEST TO RECOVER $8,475.75
            IN COSTS FOR NON-SUMMONS DOCUMENTS.
 2

 3          Google seeks to recover “costs for service of motion-related papers and delivery of
 4   chamber’s copies to the Court in the amount of $8,475.75.” See Cooper Decl. (Dkt. 876-1) ¶ 5.
 5   Google invokes Civil Local Rule 54-3(a)(2), which allows “[f]ees for service of process.” As this
 6   Court has explained, the Local Rules by their terms allow recovering “fees for service of
 7   process,” not just service of any old documents. Carbon Crest, LLC v. Tencue Productions, LLC,
 8   Case No. 19-8179, 2022 WL 1914065, at *2 (N.D. Cal. June 3, 2022) (emphasis in original).
 9   This Court has thus rejected parties’ efforts to recover costs for service of non-summons
10   documents, such as service of document subpoenas. See id. None of the costs Google seeks are
11   for service of process. See generally Cooper Decl., Ex. A-2 (Dkt. 876-3). Consistent with the
12   Court’s reasoning in Carbon Crest, the Court should reject Google’s request for $8,475.75 in
13   costs for service of motion-related papers and delivery of chamber’s copies.
14   III.   THE COURT SHOULD DENY GOOGLE’S REQUEST TO RECOVER $21,581.25
15          IN E-DISCOVERY COSTS THAT CONSTITUTE INTELLECTUAL EFFORTS.

16          Google next invokes Civil Local Rule 54-3(d)(2) to recover $21,581.25 for “e-discovery
17   costs associated with the production and/or reproduction of formal discovery documents by
18   Quinn Emanuel Urquhart and Sullivan LLP’s in-house Litigation Technology and Support
19   Team.” Cooper Decl. (Dkt. 876-1) ¶ 9. Although that rule provides that “[t]he cost of
20   reproducing disclosure or formal discovery documents when used for any purpose in the case” is
21   allowable, this Court has noted that “fees for exemplification and copying are permitted only for
22   the physical preparation and duplication of documents, not the intellectual effort involved in their
23   production.” Oracle America, Inc. v. Google Inc., Case No. 10-03561, 2012 WL 3822129, at *3
24   (N.D. Cal., Sept. 4, 2012) (quoting Zuill v. Shanahan, 80 F.3d 1366, 1371 (9th Cir.1996)). That
25   is because the Ninth Circuit has “held that the research, analysis, and distillation of data incurred
26   in the preparation of documents (as opposed to the costs of physically preparing the documents)
27   [are] not taxable costs.” Id. (citing Romero v. City of Pomona, 883 F.2d 1418, 1427 (9th Cir.
28   1989)). This Court has thus previously rejected requests for costs supported by description that

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 1   appeared to be “‘intellectual effort’ such as organizing, searching, and analyzing the discovery

 2   documents.” Id. But that intellectual effort is precisely what Google again seeks to recover for

 3   here. Google’s time entries include:

 4                 “Capture and process websites into proper format for attorneys in preparation for

 5                  prior art document production.” Cooper Decl. Ex. D-2 (Dkt. 876-7) at 3.

 6                 “Manage document production with image endorsements and designations.”

 7                  Cooper Decl. Ex. D-2 (Dkt. 876-7) at 4.

 8                 Make documents in “[s]earchable PDF format for attorney.” Cooper Decl. Ex. D-

 9                  2 (Dkt. 876-7) at 4.

10                 “Perform[] an off-process production.” Cooper Decl. Ex. D-2 (Dkt. 876-7) at 8.

11          Google’s costs in “managing” document productions or preparing documents for attorney

12   review are best characterized as the “intellectual effort” in organizing and analyzing discovery

13   documents, which are not allowable. Google’s costs in “perform[ing] an off-process

14   production”—which covers more than half of the entries in this category of costs (see Dkt. 876-7

15   at 8-24)—do not appear limited to physical preparation of documents for production. Instead,

16   these entries appear to cover tasks that would normally be performed by a “Google Discovery

17   Team,” and instead needed to be performed by Quinn Emmanuel in order to meet unspecified

18   deadlines. Sonos has no way of knowing what tasks the “Google Discovery Team” is charged

19   with, and Google’s declaration in support of its bill of costs does not explain. See Cooper Decl.

20   (Dkt. 876-1), ¶ 9.

21          It is Google’s burden to justify its costs. See Hewlett-Packard Co., 2014 WL 3703993, at

22   *6 (explaining that it is the prevailing party’s burden to “itemize its costs with enough detail to

23   establish they are taxable” and denying costs when the records were “too vague for the Court to

24   determine” that they were for allowable costs) (citation omitted). To the extent there is some

25   taxable amount hidden in these entries, it is impossible for Sonos or the Court to disambiguate

26   them. This Court should not permit Google to unload its burden onto Sonos or the Clerk to figure

27   out which taxable costs, if any, Google could be entitled to based on ambiguous time entries.

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 1   Because Google’s time entries reflect “intellectual effort” and not physical preparation and

 2   duplication of documents, Google’s effort to recover these discovery costs should be rejected.

 3   IV.    THE COURT SHOULD DENY GOOGLE’S REQUEST TO RECOVER THE $500
            MANDAMUS FEE GOOGLE PAID TO THE FEDERAL CIRCUIT.
 4

 5          The Local Rules do not permit Google to recover the $500 mandamus filing fee it paid to

 6   the Federal Circuit in September 2021. Google seeks to recover the mandamus filing fee under

 7   Civil Local Rule 54-3(a)(1). See Cooper Decl. (Dkt. 876-1) ¶ 4, Ex. A-1 (Dkt. 876-2) at 2. But

 8   Local Rule 54-3(a)(1) contemplates recovering costs only for “[t]he Clerk’s filing fee if paid by

 9   the claimant,” Civil L.R. 54-3(a)(1) (emphasis added), and the Local Rules define “Clerk” as “the

10   Clerk or a Deputy Clerk of the [Northern District of California].” See Civil L.R. 1-5(a); see also

11   Civil L.R 1-5(b) (explaining that the word “Court,” with exceptions not relevant here, “refers to

12   the United States District Court for the Northern District of California”). The $500 that Google

13   seeks to recover for its filing fee to the Federal Circuit thus falls outside the costs that Local Rule

14   54-3(a)(1) allows Google to recover.

15          Nor can Google recover those costs by falling back on Civil Local Rule 54-3(g), which

16   provides for costs authorized under Federal Rule of Appellate Procedure 39. Rule 39 applies only

17   when “an appeal is dismissed,” “a judgment is affirmed,” “a judgment is reversed,” or “a

18   judgment is affirmed in part, reversed in part, modified, or vacated.” Fed. R. App. P. 39(a).

19   Google’s mandamus action did not result in a dismissal or in affirmance or reversal of a

20   judgment. Google therefore cannot recover its filing fee for the mandamus action via Civil Local

21   Rule 54-3(g). The Court should deny Google recovery of the $500 mandamus filing fee.

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                                                                         SONOS’S OBJECTIONS TO BILL OF COSTS
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